Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 1 of 13

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ALLIANTGROUP, LP § CIVIL ACTION NO.
§
Plaintiff, §
v. §
§
WILLIAM VOLKER and
EFFICIENCY ENERGY, L.L.C
Defendants.

INDEX OF MATTERS BEING FILED

AS required under Local Rule 8l, the following is a list of the documents being filed With

the Notice of Removal in this action:

l.

2.

A copy of all process;

A copy of all state court pleadings;

a. Plaintist Original Petition;

This index of matters being iiled;

A list of all counsel of record, including addresses, telephone numbers and
parties represented;

A state court docket has not been created.

There are no orders signed by the state court judge.

Page l of 2

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 2 of 13

Respectfully submitted,

By: /s/ l\/lichael l\/lcCue
MICHAEL E. MCCUE
State Bar No, 13494l50
ALEX J. PILAWSKI
State Bar No. 24074899

 

MEADOWS, COLLIER, REED, COUSINS,
CROUCH & UNGERMAN, L.L.P.

901 Main Street, Suite 3700

Dallas, TeXas 75202-3792

(214) 744-3700

(214) 747-3732 (Fax)
mmccue@meadowscollier.com
apilawski@meadowscollier.com

ATTORNEYS FOR DEFENDANTS

CERTIFICATE OF SERVICE

 

l certify that a copy of the foregoing pleading has been served upon all counsel of record
to this proceeding by ECF, facsimile, or mailing the same by first class United States mail,

postage prepaid on this 16th day of October, 20l4.

/S/ Michael McCue

Page 2 of 2

 

Chris Danie| - District C|erk

9/22/2014 2:04:55 PM

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 3 of 13

CtvttJ C\SF. INF<)RMA’I‘K)N Stit+:t;'r limits

C.\t;st: Nt:itnt;tt mm c'L mix t;s‘l;' 0.\'1. we Cntfn’r (Fr)/: cuan t'.s‘/:' ()>."tti'):v
S-l~\'¢lt;;) alliantgroup, l,P vs. William Volker and Efnciency Energy. LLC
(c.g.t lultn Snntli t i\ll z\nicnc;ni |nsttr:mcc t`t'): Iti re =\l;\r,\‘ mm li')nt':`~; lit thc Maltcr t)l'tln: list.'ltc ot`t'ict)ti.tc J.Nksnn)
.‘\ civil case information sheet must lie completed amd subtttittt:\i wltcn ;'trt original petition or application is filed to initiate it new ci\'il. family luw\ prt)b:itc. tit mental
health case or when at post-judgtnvnt petition t`oi' modiiicatlon or motion l`<tr enforcement is tilcd in n l'un)ily law cnsc. Tlu: inl`tmnation should bullitt1 best available ;tt
tltc,timc <)l` tiling,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
  

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l. C<mtact information for person completing case lt)formation shect: Names of parties fn mm Person or entitv completing sheet ts:
.Attortwy l`ot' Pluintiti?l’ctitinncr
N;nne: Env.\il: , Plain'tit`lts)fi*etitioncits): l:l/’m .S’v Pl;iintil”t?[’ctitit)ncr
john.simpson@alllantgroup.com [:]T,‘[|c tv.() i\g¢,,¢y
John T_ Simpson, Jr, alllHDiQFOUp, LP [:l€)tlit:r: WM ________________
z ' l <‘s\“ 'l't‘lcnltonc:
:§i: :;§;,Oak B|Vd' 713_377.9500 .»\tldititinnl Ptutics in Chilti Stippon (.`nsc:
D'ct’cndnnt(>‘)fRcspondcnt(s): Cn;»'todiul i’:m:nt:
City.l$t:itc.’?.ip: f~`:tx:
William \/oll<er and EfHency
Houston, Te)<as 77056 713-350-3626 Non.g,swdmi pmm;
5 Z Energy, LLC
Sgt@tm: Sl;ttt‘ Btir Nti:
h V) n ___________________________________ Prcsumcd Fathcr:
w -.l 00794639 m
"‘ _ I;\t\acl*\ ddditit‘mt\ p.igc as necessary to list .'tll pmi¢il
ste case type, or identify the most important issue in the case (.s'¢'led only‘l):
O w Cit'il Family Law
o 3 » Post~ju`dgment Actii)ns
"' Contruct injury or Damagc Real ?ropertv Marriage Rclationshlp (non»TItli: lV-D)
-onm'zct [:l ;\ssztttlt/Bzittt:ry l:] Enn`ncnt Donialn/ [:]Annulmcnt [:l Enforccment
` nsnmcr‘DTl’i\ [:]Ct)nstmctit)n Condcnmation l:]l)eclut'e Mum`nge Vtiitl ijt\‘l<>diiic:ition~~~-Ctistt)dy
Ahit'C<)mt'txi;t l:l Dcl‘:tmation l:lPatiititm l)it~or¢;'c l:] Motlilicattionw©tlicr
iiti»`t’»~ii.-rcprescnmtlon .Wnlpmcn`cv [:l()tiict Titlc [:l With Cltildtctx Tme IV.D
0 her chthnntrzict: [l i\cct)unti ng [:lTrcspass m Txy Til le l:] Nt) Chiitlrcn [:] E,,¢'(,r¢¢m¢mzmodi nw;on
_ _* l:] chu‘l [:]Otli¢r Pruporty: [:] Pmcmi;y
mthng [J mutual [j]t<t-cipmcats tuthA)
Wmc Equity---~~i:`xpcditcd l:]Otltcr Prol`cssinnul [:]guppon grch
ltcr Fortx;lt)suru Liublllty;
[:]; ,, msc mm Related to Criminal ’
l:]ll;.§x}mcc [:]Mnmr ~` thers Otver Familv law Parent~(!l)lld Rclationstilp
{:] m¢f[~cn;,m 13 Pmmj$¢§ [] E:<punctim\ [:] Ertl'nrce Fon:ign [:lz\doption.lAdoption with
[:] .t)mpi:titinn l’l't)t!ucl [.ia[n`[t'(i/ l:l»lud¥m¢m Nl$i JUdE§"Wm T¢\'mina!l°“
[] . mmp ['_'] A_t;b¢$mi§,'ti¢a l:]Nt)n~Disct<)surc l:]ltubt:.»s Ct)rpus [:]Cltild Pmtectit)n
[:]QH: (_'Qulm¢i; mother pmdu¢¢ Liab;|i¢y l:l$cizurc!f"orl`cituru midan Cli:\rtgc l:lChild Support
tim product l:]\Vrit t)t` H:ibc:i.~; Ct\rpus~»~ l:]Pr<)tectivc Orticr l:lCustody or V`Lsitatlt)n
\““' ` Prc-indictnwnt [:l Rt~muval t)t` Di:tabilitii:s [_']Gestationul P:ircnting
0 []Ollier ltijtxry:ii`[):iiii:i;§; l:l(.`)thcr: mm , ot“ Minority [:]Gr.tndpurvnt Access
c\l W__~__ []Otltcr, [:lPurcntagt:/Pmcmity
~'_“_~ _____ [:]Tcriuin:ition ot' Parcnml
. Rigltts
Emplovment v Olher Civi! ,
[;]Discrimintition C]Administt:ttivc )\ppcul [:]Lawycr Disciplinc momw Pmm'€hlm‘
[:]Rt:tz\li;ttion [:])\ntittustf`t}nt`air l:li’ctpctuutc Tcstimony "
[:]`l’cnninzttion Compctition [:]Scctiriticse$tock
[:]Workcrs’ Cnmpcns:ition [:l(.`tide- Vit)l:ition>: @Tonious interference
[:]Otltcr Etnploymcnt: [:]Ftircign lutlgmcnt C]Othcr: W_
__ """"""" v [:]tntellwcu:tl Propcny
Tnx Pm/)u!e & il»!enral Hva!th
l:lTux ¢\ppt~.iiszt| /’m/)t)/t>/'lt"r‘//x)"/nl¢~.tmn.» .'tt'/mini.m~t'.'/iau [:]Gum‘ditinsl\ip'--~/-r\dult
l:]`l`nx Dclinqucnt:y m Dcpctidcnt Adtnini,~‘tmtt`tm [:] Guurdiun:ahip~~~t‘vi inor
{:}Otl\cr T;x.\ m lntlepcndcnt Adminisuution [:] Mcntal Ht.".tltl)
l:]Otlicr Estatc Pmcccdings [:]Othcr:_
3. lndlcxt¢e procedure or rcmcdy, if applicable (m;v selch marc than I):
[:]Appcatl l'rcm Municipul t)r Justii:c Coun l:chcluratt)ry lutlgmcnt [:]Prcjudgment ltctttcdy
[:]/\rbt`tnitintt~rcltitt\l l:]G:tn\i:<iimcnt flPrutccti\/c Ordcr
[:]Attnchmcnt C]lnlt:iplcudcr l_:lR¢ct:is'cr
l:]Bill ot‘Rcvivw L__lLict=nsc ["_“]chucstmtitm
[:l(l’enit)mri [:lM;ind;ntms @Tcmpomty Rt-stmining Ordcr-"lnjunctinn
[]Cluss Actinn Cl Pt)st-judg.ment l:]Tiimovcr
4. Indicate damages sought (d¢) nat sefccr if lt ts aji'zmi/y law caxe’):
lillych tltzitt .`Slt)n,t)ttti‘ including dunlach ol`:iny kintl. penalties eusts, expenses prc'judgmcnt intertzt. and attorney l`uc:;
C]l,css than ‘S ltlll_t)llt) and nt)n~mt)nct;tty relief
tj]o\»t~r 5 lt)n, inn but mt mm thin Sznt).t)t')t)
m()\ cr SZtlt).t`lUt) lint nttt more tli;m Sl`l)(lt>,tlt`itl
[:]<)\tt stitt)t),titzn ' m , AQ“ 1 ag!mo

 

 

 

ca s \_l

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 4 of 13

…¢¢n¢-w~i_

§§ HAR,?,

.9…,

n+
20

"'~

’i’)~o;..
Q*::» .

  
 

.,-
n

11 z¢.**
a,|*¢ ..,¢1'

'*.€»»+,

1a

"i;¢s*f COU'

.£?_k

04
»
j
*v

a’

\e
*¢
' ~\a~n**'"

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this October 16 2014

 

Certified Document Number: 62444205 Total PageS: l

WWM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with TeXas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.corn

 

9/23/2014

CONFIRMED FILE DATE:

Certified Doournent Nurnber: 62497635 - Page l of l

 

Cas`e 4:14-cV-02946 Document 3 FUed in TXSD on 10/16/14 Page 5 of 13

CHRIS DANIEL

HARRlS COL-'\\'TY DlSTRlC'|` CLERK.

Civil Process Pick-Up Form

*All information on this form is required.

' *CAUSE NUMB_ER ibi”' §§ 532/
*ATY Mv |:|’ ` ' ' ‘ *Coun#fll}

 

REQUESTING ATTORNEY/FIRM NOTlFICATION
*ATToRNEY: § ampr , ial/m * PH; ft /<Z/Q:l `?(¢€D

*CIVIL PROCESS SERVER:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

*PH:
*PERsoN NoTlFlED svc READY: ' tv/¥\/\ ~ 3 5
*DATE: q / L¢{ 7a Z_:i' am
*30"‘ day after date of issuance - -__2014__
Typc of Service Document: Tracking, Number: zth 06 696/6
Type of Service Document: Tracking Numbcr: 'W' '?> 06566 6
Type of Service Document: ' Tracking Number:
Typc of Service Document: Tracking Number:
Type of Service Document: Tracking Number:
Type of Service Document: Tr_acking Number:
Type of Service Document: Tracking Number:
Type of Service Document: Tracking Number:
Type of Service Document: Tracking Number:'
Type of Service Document: Tracking Number:

 

*Civil Process papers prepared by: Shanelle Taylor

*Date; l 23 ~2014

 

 

 

 

 

*Process Papers released to: 3>(/\.1\’\ §§ ”\0»@> `g/\
*Process papers released by: '7/(/¢ %
*Dare: `\ i 9 3 ,2014 Time: /', 1 g AM /®

Revised 02/20/ 12

 

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 6 of 13

'¢H**~¢~i
v»' ~,'

'i¥‘;¢im\n,g‘

 

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this October 16 2014

 

Certii'ied DocumentNumber: 62497635 Total Pages: 1

@»;@M

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

 

9/22/2014 2:04:55 PM

Chris Daniel - District C|erk

, v _.,.._W,Cas.e...4:14_.-0.\_/:,02946 D_o_c_u_ment_3___., Ei_le_c| in TXSD,,_on____l.O/_l_G/_14....._.,Rage 7 of 13

CIVIL PROCESS REQUEST

 

FOR EACH PAR'I`Y SERVED YOU MUST FURNISH ONE (l) COPY OF THE PLEADING
FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TG BE SERVED

 

 

 

CASE NUMBER: CURRENT COURT:

 

TYPE OF lNS'I\RUMENT TO BE SERVED (Sec‘ Rcverse For Types): Oviginal Palition, Applicaiion for Tempnrary lnjur\ction and Parmanan\ |njunction. and Reques\forDise|csurea

FILE man or MorioN: 09~22~14
Month/ Day/ Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears ln The Pleading To Be Served):
1. NAME; VVilliam Vo|ker

 

 

 

 

 

 

ADDRESS; 7 Cima'rron Dr., Greenwood \/iliage, CO 80121
§ § AGENT, (;`fapplicable)¢
EIPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type):
L|J
‘B,N SERVICE BY (c/lec/c o/)e):
§ 431 m A'rroaNEY PICK-UP ij CONSTABLE
8 &m_ l:l CIV!L PR()CESS SERVER- Authorized Person to Pick~up: Phone:
w _o : l:| MAIL I:] CERTIFIED MAIL
'E °’,.g:°_' l:l PUBLICATION;
§ § g 'l`yp'e» of Publication: i:l COURTHGUSE DOOR, or
0 |:| NEWSPAPER or YoUR cHoicE:
0 i:] OTHER, explain

M*a=»)=*w=ranew='s****>i<*>x<>i<**i=***w*#>i<>i<*>i<*>r*>1=**************=r>i**w***=r******»i=**w**********$**a****>r*****>r

532

zg|-NAME¢ Eftioiency Energy
l ADDRESS: 1701 Dir`ectors Boule\/ard, Suite 300l Austin, Texas 78744

 

45

v_AGENT,(W,,,,/,mb/e); Registered Agent Solutions, |nc.

 

@E OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific fype)!
SERVICE BY ( check one):

 

iz] A'ITORNEY PICK-UP i:i CONSTABLE
i:l CIVIL PROCESS SERVER - Authorized Person to Pick-up; Phone:
[:l MAlL L'_l CERTIFIED MAlL

|:l PUBLICATION:
rype ofPubli¢arion; l:l connTHoUsE oooR, or
l:| NEWSPAPER 0F YOUR cuoicii=

 

l:l OTHER, explain

 

 

AT'I`ORNEY (OR AT`I`ORNEY'S AGENT) REQUESTING SERVICE:

 

 

 

 

 

NAME; JOhi’i T. SlmpSOn, Ji‘. TEXAS BARNO,/l]) NO, 00794639
MA;UNG ADDRESS: 3009 Post Oak Bivd., Suite 2000, Houston, Texas 77056
PHONE NUMBER; 713 877~9@00 FAX NUMBER; 713 350~3626
area code phone number area code fax number

EMAIL ADDRESS; john.simpson@a|iiantgroup.com

P l f 2
age ° IJOI932<1-900717%9=quwni\iwswmocii>@gw@o

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 8 of 13

'h.,¢ ,.
»¢i*“ ¢»\
,w* *z,

arrange

*v

 

¢
v. »
'*-s¥xn**'

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of` the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this October l6 2014

 

Certified Document Number: 62444206 Total PageSt l

WWM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance With TeXas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 9 of 13

9/22/2014 2:04:55 PN|

Chris Daniel ~ District C|erk Harris County
Enve|ope No. 2574851

By: Ne|son Cuero

CAUSE NO.
ALLIANTGROUP, LP § IN THE DISTRICT COURT OF
V. § I~IARRIS COUNTY, TEXAS
WlLLIAl\/I VOLKER and EFFICIENCY §
ENERGY, LLC § _ JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION, APPLICATI()N FOR TEMPORARY INJUNCTION
AND PERMANENT INJUNCTION, AND REOUEST FOR DISCLOSURES

TO Tl-IE HONORABLE JUDGE OF SAID COURT:
COMES NOW Plaintiff ALLIANTGROUP, LP, (F‘ALLIANTGROUP”) and files its Original

tition, Application for Temporary 'lnjunction and Perlnanent lnjunction, and request for disclosures

Chri_s Danie| - District C|erk

Harrls County
1027

usf

9/22/2014 2:05:00 PM

ainst Defendant WILLIAl\/I VGLKER, (“VOLKER” herein) and Defendant EFFICIENCY ENERGY,
C, (“EFFICIENCY ENERGY” herein), and shows:
DISCOVERY CON'I`ROL PLAN

ALLIANTGROUP intends to conduct discovery in this matter under Level 2, pursuant to

4532 / de

L®X.R.CIV.P. 190.3:. ALLIANTGROUP asks the Clerk of the Court to issue a docket control order at
v

‘Tl’!is time.

20

PARTIES

2. ALLIANTGROUP is a domestic Lirnited Partnership which has its principle place of business in
the State of Texas.

3. Defendant VOLKER is an individual that conducts business in Texas. He resides in Colorado
and may be served With citation at 7 Cirnarron Dr,, Greenwood Village, CG, 80121.

4. Defendant EFFICIENCY ENERGY is a Texas registered foreign limited liability company
formed and existing in the State of Colorado and may be served via its registered agent: Registered

Agent Solutions, Inc., 1701 Directors Blvd., Suite 300, Austin, TX 78744.

1750 1 aged - sv€wvw rlaqumN w@wm<>o seamen

 

Case 4:14-cV-02946 Document 3 Filed in TXSD on 10/16/14 Page 10 of 13

VENUE AND JURisDICTIoN
5. Venue in Harris County, Texas is proper as all or part of the cause of action accrued in Houston,
Harris County, Texas. TEX.CIV.PRAC'. & REl\/t. CGDE § 15.00`1, Specifically, Defendants transacted
business in Texas and interfered with contracts based in Houston.
6. This Court has personal jurisdiction over VOLKER and/or EFFICIENCY ENERGY as they have
entered into contracts with third parties in the State of Texas, VOLKER and/or EFFICIENCY ENERGY
conduct business in the State of Texas, and VOLKER and/cr EFFICIENCY ENERGY provide tax
consulting services in the State of Texas to Texas residents Specifically, both VOLKER and
EFFICIENCY ENERGY have purposely interfered with ALLIANTGROUP’s business relationships in
Texas and have interfered with contracts governed by Texas law. Furthennore, VOLKER is the co~
founder of EFFICIENCY ENERGY which is a registered foreign business in Texas.

FACTS

7. ALLIANTGROUP is a national tax consulting firm with its primary office in Houston, Texas.
8. VOLKER formed E'FFICIENCY ENERGY, a tax consulting company.
9. On or about Septernber 4, 2014, VOLKER and/or EFFICIENCY ENERGY contacted LLT
Building Corporation and/or its Certified Public Accountant (“CFA”), a current client of
ALLIANTGROUP, who had contracted with ALLIANTGROUP to perform tax consulting services
VOLKER and/or EFFICIENCY ENERGY tortiously interfered with this contract by causing LLT
Building Corporation to terminate its contract with ALLIANTGROUP.

TORTIOUS INTERFERENCE
lO. ALLIANTGROUP would show that VOLKER and/or EFFICIENCY ENERGY tortiously
interfered with ALLIANTGROUP’$ on-going relationships with its client(s). VOLKER and/or

EFFICIENCY ENERGY has contacted at least one current ALLIANTGROUP client and intentionally

Alliantgl'ozlp ’S O/'igz'r/a/ Pe/itiolz 17 50 Z aged _ g 172 ,V VVZ9 uaqumN lueu§’lagsgl psg!ua:)

 

Case 4:14-0\/-02946 ..Document 3 Filed in TXSD on 10/16/14 Page 11 of 13

interfered with this relationship VOLKER’s and EFFICIENCY ENERGY’s interference is a proximate
cause of the damages complained of by ALLIANTGROUP herein.
DAMAGES

ll. ALLIANTGROUP seeks the following damages which it has incurred as a result of the acts
and/or omissions of VOLKER: economic damages; exemplary damages; reasonable and necessary
attorney’s fees; costs of court; prejudgment interest at the maximum rate allowed by law; post-
judgment interest at the maximum rate allowed by law; and equitable relief as enumerated below.

REQUEST FOR TEMPORARY INJUNCTION

12. ALLIANTGROU'P asks the Court, after hearing, to issue a temporary injunction against
VOLKER and EFFICIENCY ENERGY. ALLIANTGROUP asks that the temporary injunction enjoin
VOLKER and EFFICIENCY ENERGY from soliciting ALLIANTGROUP’s clients and/or CPA
contacts

13. As shown above, ALLIANTGROUP has a probable right of recovery in this action, ln addition,
ALLIANTGROUP will suffer immediate and irreparable harm to its business as a proximate result of
VOLKER’s tortious interference with ALLlANTGROUP’s current business relationships Finally, the
total damages caused by the activities of VOLKER are not readily quantifiable or measurable, and will
likely be unrecoverable, leaving ALLIANTGROUP with no adequate remedy. lf the court deems
necessary, ALLlANTGROUP is willing to post a bond in order to prevent further unlawful conduct by
VOLKER and/or EFFICIENCY ENERGY.

REQUEST FoR PERMANENT INJUNCTION

14. ALLIANTGROUP asks the Court to set its application for a permanent injunction for a full trial

on the merits and, after the trial, issue a permanent injunction against VOLKER Whereby he is enjoined

from soliciting ALLIANTGROUP’s clients and/or CPA contacts

Al/z‘ali/g)‘ozzp 's Original Petl`lion 17 nw g Qged * €V€,VWZQ zquumN wm§]ag@él pam]rmo

 

Case 4:14-oV-02946 Dooument 3 Filed in TXSD on 10/16/14 Page 12 of 13

REQUEST FoR DlscLosUREs

1'5. Pursuant to Rule l94 of the Texas Rules of Civil Procedure, Defendant is requested to disclose,

within FIFTY (50) DAYS of service of this request, the information and material described in Rule

194.2

PRAYER

WHEREFORE, ALLIANTGROUP asks that VOLKER and EFFICIENCY ENERGY be

required to appear and answer herein and that upon final trial, ALLIANTGROUP recover judgment

against VOLKER and EFFICIENCY ENERGY in a sum above the minimal jurisdictional limits of this

Honorable Court, temporary injunction, permanent injunction, declaratory relief, prejudgment interest at

the maximum rate allowed by law, post-judgment interest thereon at the maximum legal rate, reasonable

and necessary attorney’s fees, court costs, exemplary damages and for such other and further relief, both

general and special, at law and in equity, to which Plaintiff may show itself justly entitled

Allfantgroup ’s Origl'nal Petitz'on

cr rea
lohn§/Simpson Jr.

Tex State Bar No 94639
300 Post Oak Blv. ,Suite 2000
Houston, Texas 77056
Telephone: (713) 877~9600
Facsimile: (713) 350~3626

ATToRNEY ron PLAINTiFF
ALLIANTGROUP, LP

rio 17 93€<1 - £v€rvrz<) fleqwnN w@u‘iiigi>d P@s!wo

 

Case 4:14-oV-02946 Dooument 3 Filed in TXSD on 10/16/14 Page 13 of 13

¢»Abw n
**i,¢ v-~*

_“,¢azu ,,"
*~
TCO 1
..*.i
,i ,, @}.
v* '¢_
a ¢‘ ,
~ s
¢
- ar ' ‘
¢
.
v `4
v
l
£f ' .
l .. n
¢* .
. n*
\'q»v.' 0
J{.£ii{x F,
ga
1 w
“‘* beer “

»
a
~~~~~~~~~

459
il

»
c .,i
""~enu**‘

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this October 16 2014

 

Certified Document Number: 62444343 Total Pages: 4

WWM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

 

